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                        Exhibit X




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                             Department of Toxic Substances Control
                                                Maziar Movassaghi -
                                                   Acting Director
                                                                                                Arnold Schwarzenegger
    Linda S. Adams                            8800 Cal Center Drive
                                                                                                       Governor.
      Secretary for                      Sacramento, California 95826-3200
Environmental Protection



             September 20, 2010

                                                       Certified Mail #: 7008 3230 0000 8783 9228


             Pacific Wood Preserving of Bakersfield, Inc.
             Attn: Mr. Ronald Laughlin, Agent for Service of Process
             5601 District Boulevard
             Bakersfield, California 93313

             WlCKES FOREST INDUSTRIES SITE, INTERSECTION OF HOLDENER & A
             STREETS, ELMIRA, CALIFORNIA 95625

             Dear Mr. Laughlin:

             The California Department of Toxic Substances Control (DTSC) is a California state
             agency with authority to oversee the cleanup of contaminated sites in California. This is
             to advise you that DTSC has information demonstrating that Pacific Wood Preserving of
             Bakersfield, Inc. is a responsible party for the release of hazardous substances
             including arsenic and chromium at a former wood preserving and treatment facility
             known as the Former Wickes Forest Industries Site (the Site). The Site includes the
             property near the intersection of A Street and Holdener Road in Elmira, California 95625
             and the areal extent of contamination that resulted from wood treatment activities.
             According to records of the Nevada Secretary of State, the California Secretary of State
             and the California Environmental Protection Agency, a predecessor to Pacific Wood
             Preserving of Bakersfield owned and operated Pacific Wood Preserving at the Site from
             approximately 1972 to 1979. During this period, Pacific Wood Preserving treated lumber
             using wood preservatives that contained arsenic and chromium, and released
             substantial quantities of these hazardous substances at the Site.

             In an effort to determine the source of arsenic and chromium that has contaminated, soil
             and groundwater, DTSC has conducted a search of records regarding the Site. The
             results of this investigation strongly support the conclusion that the releases of
             hazardous substances by Pacific Wood Preserving are a continuing source of
             contamination at the Site.

             DTSC is authorized under applicable environmental laws to order (or alternatively, to
             enter into a consent order with) responsible parties to investigate and abate hazardous
             substance release sites. We hereby invite representatives of Pacific Wood Preserving of
             Bakersfield to meet with us regarding its liability with respect to this matter and its


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Pacific Wood Preserving of Bakersfield, Inc.
Attn: Mr. Ronald Laughlin, Agent for Service of Process
September 20, 2010
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interest in entedng a consent agreement with DTSC for the investigation and cleanup of
the Site and associated soil and groundwater contamination.

Please contact Mr. Steven Ross at sross@dtsc.ca..qov and/or (916) 255-3694, by
October 6, 2010, to inform DTSC if you wish to meet to discuss entering into a consent
order to investigate and cleanup the Site. You may also contact me via email at
rhume(~dtsc.ca.qov, (916) 255-3690 or in writing at:

             Richard Hume, Chief
             National Priority List Unit
             Brownfields & Environmental Restoration Program
             Department of Toxic Substances Control
             8800 Cal Center Drive
             Sacramento, California 95826




Supervising Hazardous Substances Engineer
National Priority List Unit
Brownfields-& Environmental Restoration Program

      Ms. Marilee Hanson.
      Senior Staff Counsel
      Office of Legal Counsel
      Department of Toxic Substances Control
      1001 "1" Street
      P.O. Box 806
      Sacramento, California 95812-0806

      Mr. Steven Ross
      Hazardous Substances Engineer
      National Priority List Unit
      Brownfields & Environmental Restoration Program
      Department of Toxic Substances Control
      8800 Cal Center Drive
      Sacramento, California 95826




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